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 2
 3                         UNITED STATES DISTRICT COURT
 4                      EASTERN DISTRICT OF WASHINGTON
 5
 6   UNITED STATES OF AMERICA,                      No. 2:17-CR-00128-RMP-2

 7                       Plaintiff,                 ORDER GRANTING
 8                                                  DEFENDANT’S MOTION TO
                         v.                         MODIFY CONDITIONS OF
 9                                                  RELEASE
10   BRANDI L. LEHMAN,
                                                            MOTION GRANTED
11
                         Defendant.                           (ECF No. 300)
12
13         Before the Court is Defendant’s Motion to Modify Order Setting Conditions
14   of Release (Unopposed). ECF No. 300. Defendant recites in her motion that
15   neither the United States, nor U.S. Probation oppose this request. ECF No. 300 at
16   2.
17         Specifically, Defendant requests permission modify Condition of Release
18   No. 14, ECF No. 152, to allow her to travel outside the Eastern District of
19   Washington to Post Falls, Idaho in order to visit her father who resides there. The
20   Court notes that Defendant has visited her father in Post Falls, Idaho before, and
21   returned to the District, without incident. ECF No. 265.
22         IT IS ORDERED, that Defendant’s Motion, ECF No. 300, is GRANTED.
23   Defendant’s Condition of Release No. 14 is modified as follows:
24
     (14) Defendant shall remain in the Eastern District of Washington or Post Falls,
25        Idaho, or en route between, while the case is pending. By timely motion
26        clearly stating whether opposing counsel and Pretrial Services object to the
          request, Defendant may be permitted to travel outside this geographical area.
27
28



     ORDER - 1
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 1         All other terms and conditions of pretrial release not inconsistent herewith
 2   shall remain in full force and effect.
 3         IT IS SO ORDERED.
 4         DATED December 21, 2017.
 5
 6                                _____________________________________
                                            JOHN T. RODGERS
 7                                 UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
